UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW MEXICO
In re:
LAS UVAS VALLEY DAIRIES,
a New Mexico General Partnership
Debtor. No. ll~l7-lZ356-TA

Declaration of PIliIip Mitchell, Liquidating Trustee

I, Philip Mitchell declare:
l. I have personal knowledge of the facts set forth below. l can testify that said facts are true and correct.

2. l am the Liquidating Trustee of the Liquidating Trust for the assets of Las Uvas Valley Dairies (the
“Debtor”).

3. The Debtor commenced a bankruptcy reorganization case by filing a voluntary chapter ll petition on
September 15, 2017

4. On Jz¢ne 14, 2018, an order of the bankruptcy court was entered confirming the creditors’ First Amended
Plan(the “Plan”).

5 . Under the Plan, as amended in the Order of Confirmation , all remaining assets of the Debtor vested in a
Liquidating Trust, of which l am the liquidating Trustee

6. I, as Liquidating Trustee, am the disbursing agent charged with making the distributions necessary for
consummation of the Plan. Because all assets of the Debtor, except the Water Rights Avoidance Action,
vested in the Liquidating Trust, and because the liquidating Trustee has all rights and powers of the Debtor
under the terms of the Plan, the Order of Confirmation, and the Liquidating Trust Agreement, the
administration of this chapter l l estate is substantially complete as that term was discussed and identified
in the confirmation hearing

7. The Order of Corifirmation became effective upon entry, the time for appeal from said Order has expired,
and there are no appeals or motions which seek to set aside or modify said Order.

8. All property to be transferred under the Plan has been transferred to the Liquidating rl`rust.

9. I, as Liquidating Trustee, have assumed the duties and responsibilities conferred on me under the Plan
and the ()rder of Confirmation.

lO. The deadline for submission of applications for administrative claims and professional fee claims, and
the deadline for objecting to such claims has passed. The Court has held final hearings on all such claims
and has either ruled on them or has taken them under advisement The Liquidating Tiust will pay such
claims as are allowed by the Court as provided for under the Plan.

ll. The deadline for objections to claims has passed and the Court has held final hearings on objections to
claims and has either ruled on them or taken them under advisement The Liquidating Trust will pay such
claims as are allowed by the Court in accordance with the terms of the Plan, the Order of Confirmation, and
the Liquidating Trust Agreement as provided for under the Plan.

 

 

 

 

lZ. Therefore, it is necessary and appropriate that the court enter a final decree closing the case.

13. I request that the Court retain jurisdiction to enter orders after the entry of the final decree on the Water
Rights Avoidance Action, any administrative claims or professional fee claims, any pending adversary
proceedings, any questions, clarifications or orders necessary to effectuate the provisions of the Plan, the
Order of Confirmation, or the Liquidating Tiust Agreement, and any claims objections with respect to Which
no order has yet been entered

l4. The Plan is substantially consummated and the administration of the Debtor’s chapter ll case is
complete

l declare under penalty of perjury that the foregoing is true and correct.

EXEW this day/o<July, 201 8.
j/ ; l ` v `

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